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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   ANGELA PARK,

         Plaintiff,

   v.                                                CASE NO. 8:21-cv-452-SDM-SPF

   EXPRESS, LLC,

         Defendant.
   __________________________________/


                                           ORDER

         Angela Park claims (Doc. 17) that by sending her “harassing telemarking text

   messages,” Express, LLC, a clothing retailer, violates the Telephone Consumer

   Protection Act. Relying on an arbitration provision “incorporated by reference”

   within “terms and conditions” sent in a promotional text message to Park, Express

   moves (Doc. 18) to compel arbitration. Opposing compulsory arbitration, Park

   argues (1) that Express cannot enforce the arbitration provision because Express’s

   promise to send “promotional text messages” in exchange for a promise to arbitrate

   is “entirely gratuitous” and “illusory”; (2) that Express fails to lawfully “incorporate

   by reference” the terms containing the arbitration provision; and (3) that Park’s claim

   falls outside the scope of the arbitration provision. (Doc. 25)
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          The Federal Arbitration Act codifies a federal policy favoring arbitration,

   Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 24 (1991), and “as a matter of

   federal law, any doubts concerning the scope of arbitrable issues should be

   resolved in favor of arbitration,” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,

   460 U.S. 1, 24–25 (1983). If a valid and written agreement requires arbitration of a

   claim, Section 4, Federal Arbitration Act, obligates a court to direct the parties to

   arbitrate. State law governs the validity and scope of the parties’ agreement,

   including whether the parties agree to arbitrate. Bazemore v. Jefferson Cap. Sys., LLC,

   827 F.3d 1325, 1329 (11th Cir. 2016) (“The threshold question of whether an

   arbitration agreement exists at all is ‘simply a matter of contract’”) (citation

   omitted)). Here, neither party disputes that Florida law informs whether the parties

   agreed to arbitrate Park’s claim.1 (Doc. 25 at 3)

          Under Florida law, an enforceable contract, including one imposing

   arbitration, requires an offer, an acceptance, and consideration. Med-Star Cntr., Inc. v.

   Psychiatric Hosp. of Hernando Cty., Inc., 639 So.2d 636, 637 (Fla. 5th DCA 1994) The

   party moving to compel arbitration must prove the existence of a valid and

   enforceable arbitration provision. Knowles v. C.I.T. Corp., 346 So.3d 1042, 1042 (Fla.

   1st DCA 1977). Express shows (Doc. 18-1 at 2–3) that Park received a text message



          1
            Although suggesting that a choice of law provision (Doc. 18-1 at 18) in the terms applies
   Ohio law to this action, Express acknowledges that no conflict exists between Florida and Ohio law
   governing contract formation. Bell v. Royal Seas Cruises, Inc., 2020 WL 5639947, at *4 (S.D. Fla.
   2020) (Ruiz, J.) (discerning no conflict between Ohio and Florida law governing “the basic elements
   of contact formation.”).



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   with terms incorporating by reference an arbitration provision, that Park assented

   (Doc. 18-1 at 3; ¶ 3) to those terms, and that in exchange Park received, among other

   things, notice of discounted clothing. Further, Park participates in a “loyalty

   program” that offers discounts if Park assents to Express’s terms, including the

   arbitration provision. (Doc. 18-1 at 4–5; 13) (“By enrolling in the program . . . you

   expressly agree to these terms.”). Because Express conspicuously notified Park of

   the terms containing the arbitration provision and because Park affirmatively

   assented to those terms and continues to assent (Doc. 18-1 at 4–5; ¶¶ 8–12) by

   participating in the loyalty program, Express proves the existence of an arbitration

   agreement. Triton Stone Holdings, L.L.C. v. Magna Bus., L.L.C., 308 So. 3d 1002, 1006

   (Fla. 4th DCA 2020) (“A party who accepts the proceeds and benefits of a contact

   remains subject to the burdens the contract places upon him.”); MetroPCS Commc'ns,

   Inc. v. Porter, 273 So. 3d 1025 (Fla. 3rd DCA 2018) (compelling arbitration because a

   text message with hyperlink terms puts the plaintiff “on notice that [he] . . . was

   subject to arbitration”).

          Park fails to dispute Express’s factual assertions, including that Park received

   notice of Express’s terms (and the arbitration provision), that Park could review the

   terms before agreeing, that Park agreed to the terms, and that Park accepts the term’s

   benefits through, among other means, the loyalty program. (Doc. 28 at 1–2)

   Instead, Park argues that Express imposes an “illusory” agreement because Park

   cannot “possess[ ] any legal rights to enforce [Express’s] offer to send messages” in



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   exchange for the promise to arbitrate. (Doc 25 at 8) Park maintains that Express’s

   reservation of the right “to change [or] modify” the agreement supports Park’s

   argument that the arbitration agreement is “unenforceable.” (Doc. 25 at 9–10)

         But Park offers no persuasive authority suggesting that Park could not enforce

   the agreement if Park suffered an (unlikely) injury. Plazas Rocha v. Telemundo Network

   Grp. LLC, 2020 WL 6679190, at *4 (S.D. Fla. 2020) (Bloom, J.) (finding that an

   enforceable arbitration agreement exists if a plaintiff reviews an agreement and

   accepts the benefits from the agreement). And reserving the right to modify an

   arbitration agreement preserves the validity of an arbitration agreement. Feldkamp v.

   Long Bay Partners, LLC, 773 F. Supp. 2d 1273, 1284 (M.D. Fla. 2011) (Steele, J.).

         Also, Park’s contention that Express cannot “incorporate” the arbitration

   provision “by reference” fails because Park received a text message with a prominent

   link to terms that provide access to the arbitration provision. Greenberg v. Drs. Assocs.,

   Inc., 338 F. Supp. 3d 1280 (S.D. Fla. 2018) (Ungaro, J.) (enforcing an arbitration

   agreement incorporated by a hyperlink). By mentioning “consent” and notifying

   Park she “agree[s]” to the hyperlink terms, which incorporate the arbitration

   provision, the text message provides “general language” revealing “an intent to be

   bound by the terms of [a] collateral document.” Mgmt. Computer Controls, Inc. v.

   Charles Perry Const., Inc., 743 So.2d 627, 631 (Fla. 1st DCA 1999). In short, Park

   “had reasonable notice” of the arbitration agreement. Temple v. Best Rate Holdings

   LLC, 360 F. Supp. 3d 1289, 1304 (M.D. Fla. 2018) (Honeywell, J.).



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          But even if Express’s text message notifications fail to bind Park to arbitration,

   Park’s continuing membership in Express’s loyalty program constitutes her assent to

   arbitrate. (Doc. 18-1 at 4, 22) For example, an e-mail to Park warns that the loyalty

   program “provided by Express and its terms may change.” The same e-mail

   provides conspicuous notice of a hyperlink to terms that warn “accessing, browsing,

   or otherwise using the services indicates your agreement to these terms including the

   arbitration provision,” which appears in subsequent pages. (Doc. 18-1 at 32, 35, 40)

   Because the arbitration provision “is intended to apply as broadly as possible” and

   governs “any dispute, claim, or controversy arising from or relating to” Express’s

   “services or terms,” including Express’s text message and loyalty programs

   (Doc. 18-1 at 12, 18, 40), Park must arbitrate her claim about harassing text

   messages. AT & T Techs., Inc. v. Commc'ns Workers of Am., 475 U.S. 643, 650 (1986).

           For these reasons and for the others advanced (Docs. 18; 28) by Express, the

   motion (Doc. 18) to compel arbitration is GRANTED. In accord with Section 3,

   Federal Arbitration Act, this action is STAYED. The clerk must terminate any

   pending motion and ADMINISTRATIVELY CLOSE the case. No later than seven

   days after the parties receive the arbitral decision, Park must move to dissolve the

   stay and to open the case. If the parties have not received the arbitral decision by

   JANUARY 31, 2022, on that day the plaintiff must file a report explaining the status

   of the arbitration.




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         Also, a February 26, 2021 order (Doc. 5) reminds the parties to comply with

   Local Rule 1.08. Because the amended complaint (Doc. 17) violates Local Rule

   1.08, the amended complaint is STRICKEN. No later than AUGUST 17, 2021,

   Park must amend the complaint in compliance with the Local Rules.

         ORDERED in Tampa, Florida, on August 10, 2021.




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